   1   Guttilla Murphy Anderson, P.C.
       Dawn M. Maguire (Ariz. No. 20368)
   2   5415 E. High St., Suite 200
       Phoenix, Arizona 85054
   3   Email: dmaguire@gamlaw.com
       Phone: (480) 304-8300
   4   Fax: (480) 304-8301

   5   Attorneys for Chapter 7 Trustee Maureen Gaughan

   6                                                UNITED STATES BANKRUPTCY COURT
   7                                                                  DISTRICT OF ARIZONA
   8     In re:                                                                                      CHAPTER 7

   9     TIMOTHY LEE ALLEN and CHERYL JANE                                                           Case No. 2:18-bk-00632-MCW
         ALLEN,
  10
                                     Debtors.
  11
         NATIONSTAR MORTGAGE, LLC d/b/a                                                              NOTICE OF WITHDRAWAL OF
  12     MR. COOPER, its assignees and/or                                                            TRUSTEE’S OBJECTION TO MOTION
         successors,                                                                                 FOR RELIEF FROM THE
  13                                                                                                 AUTOMATIC STAY
                                    Movant,
  14     vs.                                                                                         (RE: Docket No. 12)
  15     TIMOTHY LEE ALLEN and CHERYL JANE                                                                               Real Property:
         ALLEN, Debtors;                                                                                            11913 North 127th Drive
  16     and MAUREEN GAUGHAN, Chapter 7                                                                               El Mirage, AZ 85335
         Trustee,
  17
                                    Respondents.
  18

  19                Maureen Gaughan, the Chapter 7 Trustee appointed in this case (“Trustee”), by and
  20   through undersigned counsel, hereby withdraws the Trustee’s Objection to Motion for Relief
  21   from the Automatic Stay as the Trustee has determined the real property located at 11913 North
  22   127th Drive, El Mirage, AZ 85335 has inconsequential value to the bankruptcy estate.
  23                DATED: May 18, 2018
  24
                                                                                          GUTTILLA MURPHY ANDERSON, P.C.
  25

  26                                                                                      /s/ Dawn M. Maguire #20368
                                                                                          Dawn M. Maguire
  27                                                                                      Attorneys for Chapter 7 Trustee
  28

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   1
       E-FILED on May 18, 2018 with the
   2   U.S. Bankruptcy Court and copies served
       via ECF notice on all parties that have
   3   appeared in the case.

   4   COPY e-mailed the same date to:
   5   Maureen Gaughan
       Chapter 7 Trustee
   6
       Teresa Kennedy
   7   CORE Choice Realty
       40 W. Birchwood Place
   8   Chandler, AZ. 85248
       Kennedy.Teresa@gmail.com
   9   Real Estate Agent

  10   M. Preston Gardner
       DAVIS MILES MCGUIRE GARDNER PLLC
  11   40 E. Rio Salado Pkwy, #425
       Tempe, AZ 85281
  12   pgardner@davismiles.com
       Attorneys for Debtors
  13
       Kristin McDonald
  14   MCCARTHY & HOLTHUS, LLP
       8502 E. Via de Ventura, Suite 200
  15   Scottsdale, AZ 85258
       kmcdonald@mccarthyholthus.com
  16   Attorneys for Nationstar Mortgage LLC d/b/a Mr. Cooper

  17   COPY mailed the same date via U.S. Mail to:
  18   Office of the U.S. Trustee
       230 N. First Avenue, Suite 204
  19   Phoenix, AZ 85003-1706

  20   Timothy Lee Allen
       Cheryl Jane Allen
  21   16735 N. Maryland Ave.
       Surprise, AZ 85378
  22   Debtors

  23   Kristin McDonald
       MCCARTHY & HOLTHUS, LLP
  24   8502 E. Via de Ventura, Suite 200
       Scottsdale, AZ 85258
  25   Attorneys for Nationstar Mortgage LLC d/b/a Mr. Cooper

  26   /s/ Monica J. Baca

  27

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